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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                           SOUTHERN DISTRICT OF FLORIDA
                                                                    MIAMI DIVISION
In re Mirla L. Arteaga                                                                                                              Case No.           19-15024-RAM

                                                                                                                                    Chapter            13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $3,685.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                   $650.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                 $3,035.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d. [Other provisions as needed]
     Certification - I hereby certify that I am admitted to the Bar of the United States District Court for the Southern
     District of Florida and I am in compliance with the additional qualifications to practice in this court set forth in Local
     Rule 2090-1(A).
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6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   04/18/2019                         /s/ Jordan E. Bublick
                      Date                            Jordan E. Bublick                          Bar No. 381624
                                                      Jordan E. Bublick, P.A.
                                                      1801 N.E. 123rd St., Suite 314
                                                      P.O. Box 545941
                                                      North Miami, FL 33154-5941
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